310 DURIAM                    rCA TNQUTRY 01 1BCR 051946      FrLM:
PENDTNG                       R S DOB/AGE       CR     FfLfNG DATE: 032018
WARRANT                       W F 02091967 DL#: 05480815                      NC
BULLOCK,PAULA                                CrT#:          TRIAL DATE: 110518
151 SOUTH SHORE DRIV E                CSLR:        CSLRC:           AM 0O4D
SUPPLY           NC 28462 DEF ATTY:                           TYP:       VRA:
CHG/ARRN OFFN: M DURHAM COUNTY ORDINANCE                  LOCAI ORDINANCE
COMPLAINANT: PINNER,W                      SFF ISSUED: 032018 SERVED: 083018
OFFN DATE: 030718    ARRN DATE:         MOTIONS DATE:        DISP DATE:
CONT. D: 00 S: 00 C: 01 NR: 00 TNT?: N FRM: RSONCO:       GANG REL:    DV CV: N

PLEA VER   MOD     FINE         COSTS    WCC   REST        .JUDGE PATD    TO-BE-PATD

CONV OFFN:                                                                 CAB:
SENT LEN:     _       SENT TYPE:                       CONS F/JGMT:
PROB:                      WITHDRAWN:                  APPEALED TO SUPERIOR:
AREA CD:   ACCD: HWY:        V LIC:                       TRANS TO SUPERIOR:
CDL: N CMV: N EIAZ: N TRP/DIST:   V ST:            V   TYP:       APPELLATE:



ARREST   DATE:        CHECK   DIGIT:        SID:              LID:
NEXT#:                        PF2 - NAME INQUIRY                 ADDL CHARGES:




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